                     Case 3:16-cv-00842-SDD-RLB                 Document 108-2          05/04/19 Page 1 of 10



                                       UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF LOUISIANA
              ____________________________________
                                                   )
              EARL PETERS, et al.                  )
                                                   )
                                  Plaintiffs,      )
                    v.                             )    Docket No. 16-cv-842-SDD-RJB
                                                   )
              RAMAN SINGH, et al.                  )
                                                   )
                                  Defendants.      )
              ____________________________________)

                                    STATEMENT OF MATERIAL FACTS
                       IN SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

                      In accordance with Local Rule 56(b) and Fed. R. Civ. P. 56, Plaintiffs submit this

              statement of undisputed material facts.

Number        Plaintiffs’ Fact                                                              Defendants’ Response
1             Plaintiff Earl Peters was diagnosed with a hernia at least as early
Earl Peters   as April 16, 2013, and on that date was referred to General
              Surgery for repair of Right Inguinal Hernia.1

              On February 17, 2014, a surgery referral for Plaintiff Earl Peters
              was declined with the explanation that “Hold all surgeries if
              hernia is reducible per medical director effective 10-31-13.”2

              On May 20, 2015, Plaintiff Earl Peters’ hernia was rated as a
              4.5/5 on a scale of 1 to 5, and was described as a “Large
              (grapefruit size) herniation into scrotal sack – deviation of
              genitalia architecture.”3

              On September 24, 2015, his hernia was rated as a 5 on a scale of
              1 to 5, and Dr. Lavespere wrote “Very large RIH – non-reducible,
              scrotal involvement, needs repair.”4

              On August 3, 2016, Earl Peters received hernia surgery.5


              1
                Ex. EE (000773541.xls); R. Doc. 79-5 at ¶ 3 (Defendants’ Undisputed Facts).
              2
                Ex. NNNN (Bates #017591-2); R. Doc. 79-5 at ¶ 7 (Defendants’ Undisputed Facts).
              3
                Ex. XXX (Bates #005704); R. Doc. 79-5 at ¶ 7 (Defendants’ Undisputed Facts).
              4
                Ex. NNNN (Bates #017593); R. Doc. 79-5 at ¶ 7 (Defendants’ Undisputed Facts).
              5
                R. Doc. 79-5 at ¶ 30 (Defendants’ Undisputed Facts).
                Case 3:16-cv-00842-SDD-RLB                Document 108-2          05/04/19 Page 2 of 10



2         On October 14, 2011, Russell Ware was diagnosed with a
Russell   hernia.6
Ware      On November 20, 2012, he was referred to LSU Health General
          surgery for his hernia.7

          On February 13, 2014, a surgery referral request was denied with
          the explanation that “Hold all surgeries if hernia is reducible per
          medical director effective 10-31-13.”8

          On a spreadsheet entitled “LSP Hernia Repair List”, dated March
          28, 2014, there is a notation by Mr. Ware’s name: “Declined by
          HQ.”9

          On June 28, 2016, Plaintiff’s counsel sent a letter to Director
          Singh that Dr. Belott was willing to perform surgery on Mr.
          Ware.10 Director Singh never responded to the letter.

          Mr. Ware received surgery on May 10, 2017.11

3         On June 13, 2012, Lavelle Myers was referred to general surgery
Lavelle   for evaluation of a ventral hernia.12
Myers
          On November 5, 2012, Dr. Lavespere noted that the plan for Mr.
          Myers was general surgery.13

          On August 12, 2013, Dr. Lavespere notes that Lavelle’s hernia is
          “urgent” and asks for “GI appt ASAP” for “ventral hernia”.14

          On February 13, 2014, Dr. Lavespere’s request was declined,
          with the “reason for declining the referral” being “Hold all
          surgeries if hernia is reducible per Medical Director effective 10-
          31-13.”15




          6
            Ex. PPP (Bates #002375); R. Doc. 81-5 at ¶ 4 (Defendants’ Undisputed Facts).
          7
            R. Doc. 81-5 at ¶ 5 (Defendants’ Undisputed Facts).
          8
            Ex. SSS (Bates #002641); R. Doc. 81-5 at ¶ 8 (Defendants’ Undisputed Facts).
          9
            Ex. Z at Row 67
          10
             Ex. FF.
          11
             Ex. PPPP (Bates #017653); Ex. AAAAA (Bates #022538-40); R. Doc. 81-5 at ¶ 24 (Defendants’ Undisputed
          Facts).
          12
             Ex. OOO (Bates #001292); R. Doc. 80-5 at ¶ 3 (Defendants’ Undisputed Facts).
          13
             Ex. OOO (Bates #001292); R. Doc. 80-5 at ¶ 3 (Defendants’ Undisputed Facts).
          14
             Ex. MMMM (Bates #017584)
          15
             Ex. MMMM (Bates #017586); R. Doc. 80-5 at ¶ 10 (Defendants’ Undisputed Facts)
                Case 3:16-cv-00842-SDD-RLB                Document 108-2          05/04/19 Page 3 of 10




          On a spreadsheet entitled “LSP Hernia Repair List”, dated March
          28, 2014, there is a notation by Lavelle’s name: “Declined by
          HQ.”16

          Mr. Myers had his hernia repaired on September 6, 2016.17

4         On June 12, 2008, Wallace Breaux was diagnosed with a “large”
Wallace   hernia.18
Breaux
          On June 30, 2011, a doctor referred Mr. Breaux to the Surgery
          Clinic for his hernia.19

          Wallace’s name appeared on a spreadsheet dated May 21, 2012,
          with the notation “Hernia surgery needed.”20

          On June 16, 2012, a doctor noted “incarceration” regarding his
          left hernia.21

          On September 26, 2012, a doctor notes left inguinal hernia
          awaiting surgical repair.22

          On January 11, 2013, a doctor noted “Left inguinal hernia, due
          for c-scope, then LIH surgery.”23

          On September 16, 2015, a doctor wrote “surgery needed.”24

          He received hernia surgery on December 6, 2017.25

5         Herman Bella was diagnosed with a hernia at least as early as
Herman    June 15, 2010.26
Bella
          On August 29, 2013, Dr. Collins requested a surgery clinic
          appointment for his hernia.27


          16
             Ex. Z at Row 50
          17
             Ex. MMMM (Bates #017588); R. Doc. 80-5 at ¶ 23 (Defendants’ Undisputed Facts)
          18
             R. Doc. 82-5 at ¶ 2 (Defendants’ Undisputed Facts)
          19
             R. Doc. 82-5 at ¶ 3 (Defendants’ Undisputed Facts)
          20
             Ex. ZB; Ex. H.
          21
             Ex. EEEE (Bates #015823)
          22
             Ex. EEEE (Bates #015811)
          23
             Ex. EEEE (Bates #015806)
          24
             Ex. EEEE (Bates #015736)
          25
             R. Doc. 82-5 at ¶ 33 (Defendants’ Undisputed Facts)
          26
             Ex. UUU (Bates #002765); R. Doc. 75-5 at ¶ 3 (Defendants’ Undisputed Facts)
          27
             Ex. HHHH (Bates #017470)
                   Case 3:16-cv-00842-SDD-RLB                 Document 108-2          05/04/19 Page 4 of 10



            On February 13, 2014, Dr. Lavespere’s request was declined by a
            DOC HQ coordinator, with the “reason for declining the referral”
            being “Hold all surgeries if hernia is reducible per Medical
            Director effective 10-31-13.”28

            On September 12, 2016, he was referred to general surgery
            because of a “fist sized” hernia.29

            On January 24, 2017, Mr. Bella received hernia surgery.30

6           On January 25, 2013, Mr. Ailsworth’s doctor-assessed medical
Ronald      history included a right inguinal hernia.31
Ailsworth
            On July 11, 2013, a doctor’s assessment was Right Inguinal
            Hernia – “await surgery.” 32

            By March 22, 2017, a doctor noted that his hernia was larger than
            fist sized, with “superficial scrotal involv, + architect deviation”
            and that it was reducible with difficulty.33

            On March 28, 2017, a doctor recommended an appointment with
            the surgery clinic for the hernia.34

            On August 16, 2017, a doctor requested hernia repair for Mr.
            Ailsworth.35

            On October 2, 2017, Mr. Ailsworth received hernia surgery.36

7         On June 22, 2011, Mr. Dickerson was diagnosed with a cataract
William   in his left eye.37
Dickerson
          On March 19, 2012, he was referred for surgery.38 On August 22,
          2012, he was ordered for “Trip out cataract surgery.”39

            He was ordered for cataract surgery again in September 2012.40

            28
               Ex. HHHH (Bates #017471); R. Doc. 75-5 at ¶ 7 (Defendants’ Undisputed Facts)
            29
               Ex. UUU (Bates #002778)
            30
               Ex. RRRR (Bates #019687, 019688); R. Doc. 75-5 at ¶ 18 (Defendants’ Undisputed Facts).
            31
               Ex. CCCC (Bates #011201)
            32
               Ex. CCCC (Bates #011186)
            33
               Ex. CCCC (Bates #011109); R. Doc. 76-5 at ¶ 9 (Defendants’ Undisputed Facts).
            34
               Ex. GGGG (Bates #017468)
            35
               Ex. SSSS (Bates #019696); Ex. TTTT (Bates #019698); R. Doc. 76-5 at ¶ 12 (Defendants’ Undisputed Facts).
            36
               Ex. UUUU (Bates #019784); R. Doc. 76-5 at ¶ 13 (Defendants’ Undisputed Facts).
            37
               Ex. VVV (Bates #003818); Ex. ZF at 2.
            38
               Ex. ZF at 2; Ex. VVV (Bates #003816)
            39
               Ex. VVV (Bates #003814)
                  Case 3:16-cv-00842-SDD-RLB                   Document 108-2    05/04/19 Page 5 of 10




            Mr. Dickerson is still waiting for that cataract surgery.41


            On December 21, 2015, Mr. Dickerson was diagnosed with a left
            inguinal hernia.42

            On April 15, 2016, Dr. Lavespere noted that it was “getting
            larger” and causing “mid pubic pain” and “+/- difficulty” with
            bowel movements.43 It was greater than fist sized, in the superior
            aspect of Mr. Dickerson’s scrotum, and “difficult to reduce but
            reducible” with discomfort. It was causing architectural deviation
            of his genitals, pushing Mr. Dickerson’s penis to the right.44 He
            rated it a 4.5 out of 5, and planned for a general surgery consult.45
            He wrote “please eval for repair.”46

            He received hernia surgery on November 29, 2016.47

8         On February 24, 2012, a doctor noted Iddo Blackwell had a “bad
Iddo      cataract” in his right eye.48
Blackwell
          On March 14, 2012, the doctor noted that “The patient needs an
          evaluation at LSU Eye Center in preparation for cataract surgery,
          both eyes.”49

             On November 28, 2012, Dr. Coullard noted that Mr Blackwell
            had been referred out, and was waiting on an appointment for
            surgery.50

            On January 22, 2013, Mr. Blackwell was again referred for
            surgery.51

            By June 5, 2013, Dr. Coullard assessed Mr. Blackwell’s left eye
            to be 20/200 and his right eye only “light perception.”52 Mr.
            Blackwell was therefore legally blind.
           40
              Ex. ZA at Row 44.
           41
              Ex. FF at 9 (Declaration of W. Dickerson).
           42
              R. Doc. 77-5 at ¶ 2 (Defendants’ Undisputed Facts).
           43
              Ex. ZG at 1.
           44
              Ex. ZG at 2; R. Doc. 77-5 at ¶ 4 (Defendants’ Undisputed Facts).
           45
              Id. at 1; R. Doc. 77-5 at ¶ 4 (Defendants’ Undisputed Facts).
           46
              Id. at 2; R. Doc. 77-5 at ¶ 4 (Defendants’ Undisputed Facts).
           47
              R. Doc. 77-5 at ¶ 15 (Defendants’ Undisputed Facts).
           48
              Ex. MMM (Bates #000108)
           49
              Ex. AAAA (Bates #008359); See also Ex. ZF
           50
              Ex. MMM (Bates #000221)
           51
              Ex. ZF at 1.
           52
              Ex. MMM (Bates #000220)
               Case 3:16-cv-00842-SDD-RLB            Document 108-2           05/04/19 Page 6 of 10




         Dr. Coullard noted that the cataract in the right eye was
         “hypermature” and referred him for a trip out.53

         By January 16, 2015, Mr. Blackwell’s eyes were “hand motion”
         in his right eye and 20/400 in his left eye.54 A doctor wrote:
         “Recommend cataract extraction, right eye first.”55

         On March 30, 2015, Mr. Blackwell received surgery on his right
         eye.56

         A left-eye surgery date in August 2015 was cancelled due to high
         glucose, and so Mr. Blackwell received surgery on his left eye on
         December 14, 2015. 57

9        On November 11, 2011, Mr. Turner had a trip out to be evaluated
Jimmy    for right eye cataract surgery.58
Turner
         On February 28, 2012, Dr. Lavespere noted that Mr. Turner was
         “recently back from optho appt” and “needs cataract sx R eye.”59

         By July 24, 2012, a coordinator noted that Mr. Turner was
         approved by “surgical Review Committee if Drs deem surgery is
         indicated.”60

         On August 28, 2012, his right cataract was again noted and the
         doctor’s plan was “Trip out for cataract surgery.”61

         By November 28, 2012, a doctor noted he had a “dense cortical
         cataract.”62

         On June 5, 2013, he was again referred for a trip out for cataract
         surgery.63

         On August 26, 2013, a doctor submitted “REQUEST
         CATARACT SX” in Eceptionist.64

         53
            Ex. MMM (Bates #000220)
         54
            Ex. MMM (Bates #000062)
         55
            Ex. AAAA (Bates #008376)
         56
            Ex. MMM (Bates #000049)
         57
            Ex. MMM (Bates #000267, 000282)
         58
            Ex. ZC at page 244
         59
            Ex. DDDD (Bates #014589)
         60
            Ex. DDDD (Bates #014573)
         61
            Ex. ZC at page 237
         62
            Ex. DDDD (Bates #014526)
         63
            Ex. ZC at page 235
                Case 3:16-cv-00842-SDD-RLB              Document 108-2        05/04/19 Page 7 of 10




          On June 13, 2016, Mr. Turner received right eye surgery.


10        March 6, 2013, a doctor noted that Kevin Mathieu had declining
Kevin     vision and cataracts, with a bilateral visual acuity of 20/200.65
Mathieu
          On June 28, 2013, the doctor recommended him for cataract
          surgery in both eyes.66 That same day, Dr. Coullard wrote that
          Mr. Mathieu was “legally blind” (underlined in original).67

          On October 14, 2013, a doctor creates a plan for Kevin: “cataract
          evaluation and surgery.”68

          On November 18, 2013, a doctor noted that Kevin had “problems
          reading secondary to cataracts” and noted that he had “opth f/u-
          surg pending.”69

          On March 6, 2014, Dr. Barron ordered cataract extraction in the
          right eye first.70 DOC HQ coordinator Diane Angelico wrote “So,
          this surgery is approved? IF so, will ask drs for date.” Jannell
          Mills responded “yes can you get you a date please thanks!”71

          On June 29, 2015, Kevin had left eye cataract surgery. 72

          On November 9, 2016, Kevin was denied work release due to
          “medical concerns.”73 On January 12, 2017, Dr. Salisbury cleared
          Kevin for work release.74 On July 31, 2017, Kevin was released
          without having received right eye surgery.75

11        On April 24, 2009, Ross McCaa was diagnosed with cataracts.76
Ross
McCaa     On November 5, 2012, a doctor noted cataracts in both eyes, and
          set the plan to be cataract surgery in the right eye first.77

          64
             Ex. OOOO (Bates #017623)
          65
             Ex. NNN (Bates #000643); See also Ex. ZF
          66
             Ex. NNN (Bates #000662)
          67
             Ex. ZD at page 146.
          68
             Ex. NNN (Bates #000632, 000635)
          69
             Ex. NNN (Bates #000634)
          70
             Ex. KKKK (Bates #017536)
          71
             Ex. KKKK (Bates #017536)
          72
             Ex. NNN (Bates #000522, 000558, 000559)
          73
             Ex. HH.
          74
             Ex. NNN (Bates #000733)
          75
             Ex. CCCCC (Bates #023100)
          76
             Ex. ZF.
          77
             Ex. WWW (Bates #005072)
            Case 3:16-cv-00842-SDD-RLB                  Document 108-2          05/04/19 Page 8 of 10




     On October 19, 2016, the eye clinic noted a “dense cortical”
     cataract in Mr. McCaa’s right eye, and a less serious cataract in
     his left eye.

     Mr. McCaa has not yet received cataract surgery on either eye.

     On May 9, 2016, a doctor noted a left inguinal hernia, and set the
     plan to be “surgery consult hernia.”78

     On November 14, 2016, Dr. Lavespere ordered “Please sched apt
     with Onsite Surg cln.”79

     On November 29, 2016, a doctor noted that the hernia was
     growing into Mr. McCaa’s scrotum.

     On July 13, 2017, it was noted that “Dr. Morrison in gen sx clinic
     at LSP recommending hernia repair please schedule as
     ordered.”80

     On August 28, 2017, Mr. McCaa received hernia surgery.81

12   Some reducible hernias require surgery.82

13   A list, dated May 21, 2012, was generated of Angola inmates
     with the notation “Hernia surgery needed.”83

14   An Offender Surgical Procedure Request form was created that
     said, in part: “Reducible Hernia – to be managed non-
     operatively.”84

15   Notes from a November 13, 2013, meeting say, in part, “If/when
     a surgeon documents the need for the hernia repair it is hard to
     overrule this decision” and “If they do not meet criteria do not
     send to surgeon. Reducible hernia's will be managed non-
     operatively by PCP at prison.”85



     78
        005061; 017051; R. Doc. 78-2 at ¶ 2 (Defendants’ Undisputed Facts).
     79
        017583; R. Doc. 78-2 at ¶ 4 (Defendants’ Undisputed Facts).
     80
        019695
     81
        019813 – 019815; R. Doc. 78-2 at ¶ 8 (Defendants’ Undisputed Facts).
     82 Johnson v. Doughty, 433 F. 3d 1001, 1014 (7th Cir. 2006) (there is a category of hernia “that is reducible yet

     so painful or debilitating that surgery is required”).
     83 Ex. K (2012 Hernia List) at 3.
     84 Ex. L.
     85 Ex. M (Hernia 001023) at 1.
            Case 3:16-cv-00842-SDD-RLB                  Document 108-2           05/04/19 Page 9 of 10



16   Some Eceptionist entries of referrals for hernia surgery
     evaluation say, in part, “Reason for declining the referral: Hold
     all surgeries if hernia is reducible per Medical Director.”86
17   On January 13, 2014, an email with Dr. Singh’s name was sent
     that said in part, “There are approximately 100 referrals for
     reducible hernias; can the referrals be closed and let the PCP
     monitor and re refer if change in condition?”87

18   The 2014 Guidelines for Offender Care regarding hernias state, in
     part, that “if hernia is reducible continue to manage non-
     operatively.”88

19   Per DOC Policy No. HC-16 and LSP Directive No. 13.030,
     cataract surgery is classified as an “elective procedure.”89

20   Per DOC Policy No. HC-16 and LSP Directive No. 13.030, an
     “elective procedure” is: “Any planned non-emergency procedure.
     It may be either medically necessary (e.g., cataract surgery,
     routinely scheduled heart surgery, etc.) or optional (e.g.,
     cosmetic, etc.).”90

21   In letter dated November 9, 2016, Kevin Mathieu was told he was
     “not eligible” for work release “due to medical concerns.”91

22   In a letter with Warden Falgout’s name on it, it was written about
     Kevin Mathieu, “When Ophthalmology releases him, his level of
     care will be reviewed. If increased to level of care 3, his job
     opportunities will increase.”92

23   Plaintiffs Blackwell, Turner, Myers, Ware, Peters, AIlsworth,
     Breaux, Bella, McCaa, and Dickerson, received duty statuses that
     said no sports, rodeo, lifting greater than 10 lbs., stooping,
     straining, prolonged walking, or hobbycraft.93

24   Dr. Raman Singh is the person described as the “medical
     director” in the sentence “Hold all surgeries if hernia is reducible
     per medical director effective 10-31-13.”94

     86 E.g., Ex. PPPP (Bates #017642); R. Doc. 79-5 (Defendants’ Statement of Undisputed Facts) at ¶ 7
     87 Ex. PP.
     88 Ex. T at 5019
     89 Exhibit EEE (Policy No. HC-16), at 1; Exhibit FFF (LSP Directive No. 13.030).
     90 Id.
     91 Ex. HH.
     92 Ex. LLL (December 5, 2016 Letter from Tracy Falgout).
     93 Memorandum in Support at Table 6.
     94Ex. JJJJJ at Interr. No. 18 (“Dr. Raman Singh”); Ex. HHHHH at Interr. No. 9. (“Dr. Singh assumes that Ms.

     Young was referring to him.”)
            Case 3:16-cv-00842-SDD-RLB                  Document 108-2    05/04/19 Page 10 of 10




25   James LeBlanc received a letter dated December 10, 2014, with
     the subject line, “Medical Care at Angola.”95

26   James LeBlanc underlined a sentence in the December 10, 2014
     letter as follows: We understand that, at present, inmates in need
     of acute surgical care are transported to off-site facilities for
     surgery only when their conditions have been deemed “life-
     threatening;” otherwise, surgeries are not performed at all.96

27   James LeBlanc circled the word “hernias” in the following text
     in the December 10, 2014 letter: “We have observed men who
     appear to have undiagnosed major diseases; who suffer severe
     pain with no treatment (including medication and physical
     therapy); who need surgery for conditions like hernias, broken
     joints, and hemorrhoids, for which the prison has claimed it
     cannot afford to pay . . . .”97



                                                 CERTIFICATE OF SERVICE

               I hereby certify that on April 30, 2019, a copy of the Plaintiffs’ Statement of Material

     Facts was filed electronically with the Clerk of Court via the CM/ECF system. Notice of this

     filing will be sent to all counsel of record by operation of the court’s electronic filing system.

                                                       _/s/William Most____________
                                                          William Most




     95 Ex. JJJJJ at Interr. No. 3.
     96 Ex. JJJJJ at Interr. No. 2; Ex. IIIII at 2.
     97 Ex. JJJJJ at Interr. No. 2; Ex. IIIII at 3.
